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                  IN THE I.I\I'I'ED STAI'ES I)IS]'RICT COURT FOR'I'HI]

                           WESTERI\ DISI-RI C-I' O}- OKLAHOMA


T]NITED STA'TES           OT-   A]\TERICA,             )
                                                       )
                          Plaintiff.                   )
                                                       )
                  -1,S-                               )     No. CR-I8-066-SI-P
                                                      )
CHRISTOPHER THOMAS CAPLINGER,                         )
  a/k/a UC-Cop,                                       )
  a/k/a Vires.                                        )
                                                      )
                          Defendant.                  )
                                                      )

                                       PLEA AGREEI\TENT

                                             Inlroduction

                   l.     This document. in conjunction with a Supplement                 flled

contemporaneously under seal, contains the entire plea agreement between defendant,

Christopher Thomas Caplinger, and the United States through its undersigned attorney. No

other agreement or promise exists, nor may any additional agreement be entered into unless

in s,riting and signed by all parties. Any unilaleral modification of this agreement is hereby

rcjected by the United States. This agreement applies only to the criminal violations

described and does not apply to any      civil matter or any civil forfeiture proceeding except

as   specifically set forth. This agreement binds only the United States Attomey's Office fbr

the Western District ol Oklahoma and docs not bind any other federal. state, or local

prosecuting, administrative. or regulatory authority. IFdefendant does not accept the terms

of   th   is agreement by October 24,2018. the offer is withdrawn.
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                                                   Cuiltv Plea

                   2.       Defendant agrees to enter a plea of guilty to Count 7 ofthe lndictment

in Case Ntrnrber CR-18-066-SLP. Count 7 charges the defendant x,ith rnanulacturing of

anabolic steroids, Schedule III controlled substances, in violation               of2l    U.S.C. S 8al(a)(l).

To be found guilty of violating           2l   U.S.C. $ 8a1(a)(1), as charged in the Indictment,

defendant nrust admi1. and does adrnit, that:                     (l) he knowingly and intenlionally
manufacturcd anabolic steroids: and (2)the substance was in lact anabolic stcroids.

                   Defendant agrees to entcr a plea of guilty to Count 9 of the lndictment in

Case Number CR-18-066-SLP. Count 9 charges the defendant with money laundering

conspiracy. in violation of 1 8 U.S.C.         \   I   956(h). To be found guilty of violating     I t3   U.S.C.

$ I 956(h).   as chargcd in the    Indictrnent. defendant musl admit. and does admit. that:                (l)he

agreed to violate fedcral money laundering laws with others as charged; (2) hc conducted

flnancial transactions atTecting inlcrstatc commerce, knowing that the funds u,ere the

proceeds of illegal activity in violation of 21 U.S.C.             {   846 and   2l   U.S.C. $ 8al(aXl); (3)

he knew the csscntial objective           of the conspiracy; (4) he knowingly and voluntarily

involved hinrsellin the conspiracy; and (5) there was interdependence arnong the members

of the conspiracy.

                   I'larimum Penaltr'. Restitution. and Special Assessments

                   3.       The rnaxinrum penalty that could be inrposed as a result of this plea

to Count 7 of the lndictmenl is not rnore than 10 ycars' imprisonlnent, or a fine of

5500.000.00.       or both such fine and imprisonment. as vvell as a mandatory                            special

assessment    ol   SI   00.00. and a ternr o1'supcrvised releasc of not less than 2 ycars


                                                          2
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                  The maxirnunr penaln'that could be imposed as a rcsull olthis plea to Counl

9 of thc Indictment is 20 years' inrprisonment, or a fine of 5500.000.00, or both such finc

and imprisonment, as wcll as a nrandatory special assessmont                oJ- $   100.00. and a tenn    of

supcrviscd release ol nol nrore (han 3 years.

                  In addition lo thc punishnrcnt described abor,c. a plca ol'guiltv can affccl

inrnrigration status.    lf   dcfcndant is not a citizen of the Unilcd States. a guilty plea may

rcsult in deportation and rcnroval ll'onr the United Statcs. nray prevent him from ever

la*'lirllv reentering or renraining in the United States. and nray rcsult in the denial                   o1'


natLualization.

                  4.     In addition. thc Courl must order the paynrcnt of rcstitution to               arry

viclinr(s) olthe offense. Pursuanl to       l 8 U. S.C. $S 3663(aX3 ) and   3   663 A. the parties   further

agree that. as part ofthe sentence resulting from defendant's plea. the Court               $'ill   enter an

order   of restitution   1o   all   victin.rs ol' del'endant's relevant conduct as determined by

reference to the United States Senlencing Guidelines.

                  5.     Defendant agrccs to pay the special asscssrncnt duc the United States

to the Office of the Unitcd Slatr--s          Clourt Clerk inrmediatcly follos'ing sentencing.

Dcfendant understands that any llnc or reslitution ordered by the Courl is immediately due

unless the Court provides for paynrent on a date certain or in installnrcnls

                  6.     For certain stalutory offenses, the Court nrust also impose a temr              ol
supcrviscd release, *,hich dclcntlant will begin to servc after bcing rclcascd lrom custoclv.

Iror all other offenses, thc Court nray inrpose a temr o{'supcrviscrl rclcase 1o be served

follou'ing release from custody. l)uring the term ofsupen,ised re'lcasc. defendant ri'ill be
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subicct to conditions that rvill include prohitritions against violating local. state. or t'ederal

las'. reponing requirements. restrictions on trar.el and residence, and possible testing for

controlled substance use. lf del'endarrt violates the conditions of his supervised release, the

Court nray revoke his supervised release and sentence him to an additional tenn of

imprisonnrent. This additional ternr of inrprisonmenl would be scrved without credit for

thc tirnc defendant successfully spcnt on supervised release. When combined. the original

ternr of inrprisonment and any subsequent temr of in.rprisonment the Court imposes rnay

excccd thc statutory maximum prison lenn allowable for the offense.

                                            Forfeiture

       A.       Defendant agrees to lorleit to the United Slates voluntarily and immediately

all ol'his right. title. and interest. ifany. lo any and all assets u,hich arc subject to forfciturc

pursuanl to   2l    U.S.C. $ 853. Those assets include:

                         A mone1,judgment in the amount of 5740,000.00, representing thc
                         arnount o1'procccds obtained as a resuh ol'thc offense:

                2        Approxinratcly S2t'i0,703.00 in U.S. currerrcy;

                3        Approximately $6,840.00 in U.S. currency; and

                4        Approximatcly 5200.00 in U.S. currency.

       IJ       The dclcndant untierstands and agrees that the Iblleiture ol- thc S740.000.00

rvill take the lonn ofa nronel'judgnrcnl against him for that amount.

       Cl.      Defendant agrees thal lbrfeiture of substitute assels as authorized herein and

pursuanl to   2l U.S.C. g 853(p) shall rrot be deerned an alteration olDcl'endanl's      scnlcncc.

       D.       Defendant agrees cach olthe listed assets were involvcd in. are the proceeds



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oL or wcre used to facililate the unlarvful violation(s) (o rvhich he is pleading guilty.

        E.      Defendant knorvingly and voluntarily u,aives his right to a jur1, lrial on the

forfeiturc ofassets. Delendant knowingly and volunlarily rvaives all constitutional, legal.

and equitable defenses to the forfeirure of these assets in any proceeding, and further

rvaives any clainr       or   defense undcr the Eighth Anrendment           to the Unitcd    States

Constihrtion, including any claim olexcessive fine, to the forfeiturc or disposition ofassets

by the United States, the State of Oklahoma, or its subdivisions. Defendant knou,ingly

and voluntarily conscnts to the entry of a final order of forfeiture before sentencing as to

defendanl's interest in the assets.

       F-.      Defendanl knorvingly and voluntarily u,aives any right              to   appeal or

collaterally attack any mattcr in conneclion rvith the forfeiture provided for herein.

       C.       Forfeiture ofdefendanl's assets shall nol be treated as salislaction ol'any fine.

restitution, cost   of   imprisonment, or any other penalty this Court may impose upon

defendant in addition to forfeiture.

       H.       Defendant agrees not to file a claim to any ofthe listed property. or olhenvise

contest forfeiture, in any civil. administrative, or judicial proceeding, and agrees not to

assist others   in filing a claim, or otherwise contesting forfeiture, in any forfeiture
proceeding rvhich nrav be initiated.

       I.       Defendant hereby waives his right to notice       of any forfeiture proceeding

invoh,ing the listed propcfty.

       J.       Defendant voluntarily u'aives his right to assert a claim to any right. title.

and,'or inlcrest in and 1o all property listed in the Indictnrcnt and   Bill ofParticulars in order


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that disposition may bc nrade hy the appropriate fedcral, slatc or local larv enforcemenl

ilgcncv

                                     Srntoncing Guidcline    s


                 7.     The parties acknowledge that 18 U.S.C. g 3553(a), directs the Court

to consider certain factors in inrposing sentence, including the Sentencing Guidelines

pronrulgated by the United Slatcs Scntcncing Commission. Conscquently. although the

partics recognize that the Sentencing Guidelines are only advisory. they have entered into

cerlain stipulations and agreernents with respect to thc Cuidclines. Based upon the

information known to the parties on the date this agreen:ent is executed, they expect to

take. but are nol limited to. the lollowing positions at sentencing:

                 The partics agrec defendant should receive a 2-lcvcl dou,nu'ard adjustment

for acceptance of responsibility pursuant to USSG $        3E    l.l(a). if   he conrnrits no furlher

crimes, does not falsely deny or liivolously contest relevant conducl, and fully complics

with all of the otherterms ofthis agreement. Further, to the extent the Courl finds defendant

qualifies lor that 2-level downward adjustment and USSG $              3El.l(b) is applicable,   the

govemment agrees to move for the additional I -level downward adjustnrent of $ 3E I . I (b).

if   delendant accepts the ternrs    of this plea agreement by the deadline           established in

Paragraph   l.

                 The parties stipulate and agree that at least 60,(XX) doses ofanabolic steroids

is attributable to the defendant (Offcnsc Level 20).




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               Thc p:rrtics also stipulate antl agrcc that tlle amount olrnoncv invoh   c.d   in thc

rnoney laundering conspiracy as to the dcfendant is more tlran S250,0(m.00, pursuant to

ussc s 28r.r(bxrxG)
               Apart fronr any expressed agreements and stipulations, the parties resene lhe

righl to advocate for, and present er,idence relevant to. other guidelinc adjustrnents and

scntcncing laclors for consideration by thc U.S. Probation Officc and thc Coufl.

               The parlies have entered into this plea agreenrent under the provisions ol-

Itulc ll(cXl)(r\) & (B). Dclendaut acknoulcdces and understands thal the Court is nol

bound by. nor obligated to accepl. these stipulations. agreemenls. or recommendations of

thc Unitcd Slalcs or dclcndant. And, evon i{'the Court rejects onc or more of thcsc

stipulations. agrccnrcnls. or recomnrcndat ions. that fact alone rvould nol allor.r, defendant

to rvithdrau'his plca of'guilt1,. Upon defendant's signing of this plea agreenrent. the UnitL,d

Stales intends to cnd its investigation of thc allegations in the Indictment as to defendant,

except insofar as required to prepare for further hearings in this casc. including bul not

limited to sentencing, and to prosecute others. ifany, involved in defendant's conduct. The

United States agrecs    lo end any investigation directed specifically al the foregoing
stipulations. agreements, or recommendations as to defendant. However. subject to the

lernrs and conditions ol'this plea agreenrent (panicularly the Plea Supplc.nrcnt). the Unitcd

States expressly reser\/es the right   to take positions that deviale fronr the foregoing

stipulalions, agreemcnls, or recontrncndalions in the event that rnatcrial credible e'r,idcnce

rc-quirin-r such a dc\ iatjolt is discovered during the course   ol its investigation subsequenl




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to the signing of this agreement or arises from sources independent of the United States,

including the U.S. Probation Office.

                Waiver of Ri{r t to Aooeal and Brins Collater al Ch a lt cngc

                8.       Defendant understands that the Court will consider those factors in l8

U.S.C. $ 3553(a) in determining his scntence. Defendant also understands that the Court

has   jurisdiction and authority to impose any sentence within the statutory maximum for the

offense(s) to rvhich he is pleading     guilty. Defendant further   understands that 28 U.S.C.

g 1291, and    l8   U.S.C. $ 3742, give him the right to appeal the judgment and sentence

imposed by the      Court. Ackno*,ledging all this, and in exchange for the promises        and

concessions made by the United States        ir   this plea agrecment. defendant knowingly and

voluntarily u,aivcs the follorving rights:

                        a.     Defendant waives his right to appeal his guilty plea. and any

other aspect    of his   conviction, including but not limited to any rulings on pretrial

suppression motions or any other pretrial dispositions of motions and issues:

                        b.     Except as stated immediately below, defendant waives his right

to appeal his sentence as imposed by the Court, including any restitution, and the manner

in which the sentence is detennincd. If the sentence is above the advisory guideline range

determined by the Court to apply to his case, this rvaiver does not include the defendant's

right to appeal specifically the substantive reasonableness ofhis sentence:

                        c.     Dcfendant waives his right to collaterally challenge or n'love to

modify (under 28 U.S.C.         {   2255, 18 U.S.C. $ 3582(cX2). or any other ground) his




                                                   8
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convic{iotl   or    sentence, including any restilrrtion, except               wilh respect to clainrs ol'

ineffectir c assistance of counscl.

                Defendant acknowledges that thesc u,aivers renrain                        in full cffect and   are

enforceablc, cven        if the Court rejects one or nrore ofthe positions of the United               Stalcs or

def'endant sct forth in paragraph 7.

                ().        Except as stated immedialcly belou.. the United States agrees to rvaivc

its right undcr l8 U.S.C. S 3742 to appeal thc scnlence irrposcd by the CoLrn and the

rnanncr in s'hich thc scntcncc s'as dclcrnrinctl. II'the sentencc is belou, the ath'isolv

guideline range deterrnined by the Court to apply to this case. this u,aiver does not include

the right of thc United Statcs to appeal specifically the substanlivc rcasonablensss of the

sentence.

                              \\   air cr ol   (llaim to l)rcr ailing Part\ Slalus

                10.        Defendanl expressly acknowledges that he is not a "prevailing           panl;'u'ithin

the meaning   of I 8 U.S.C.    S 3006A with respect to thc count of conviction or any other count or

charge thal nray be dismissed pursuant to this agreenrent.           If defendant is represented by retained

counsel. he voluntarily, knouingly. and intelligcntly rvaives any rights he may havc to seek

reasonablc altomey's fees and olher litigation expcnses under           l8   U.S.C.   N   3006A.

                             Waiver of FOIA and Privacv Act Rights

                I   l.     Defendant rvair.es         all rights.   s'hether asscrted directly        or hv a
representalivc, to request ofor rcceive from any department or agcncy ofthe United States

any recolds pcrtaining to lhe investigation or prosecutlon of this case. including but not




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limited to records thal dcl'entlant rnay scck under the Freedom of lnfbnrration Act. 5 U.S.(

$ 552.   ol the Privacy Act of 1974. 5 U.S.C. $ 522a.

                                 Obligatiors of Defendanl

                12.    Del'endant shall commit no further    crimes. lt is understood     that,

should defendant commit any further crinres        or should it be detennined that he      has

knou,ingly givcn falsc, inconrplete. or rnisleading testimony or infonrration. or should he

otherwise violatc any provision of this agreement. the United States may declare this

agreement null and void and prosecute defendant for any and          all his federal crinrinal

violations, including perjury and obstruclion ofjustice. Any prosecution within the scope

of this investigation that is not time-barred by the applicable statute of lirnitations on thc

date of the signing of this agreemcnt may be brought against defendant, notwithstanding

the cxpiration of thc stalute of limitations between the signing of this agreernent and thc

commencement of thal prosecution. Defendant hereby waives all defenses based on the

statute of limitations with respecl to any prosecution that is not time-barred on the date that

this agreemenl is signed.

                I-1.   The pa(ies also recognize that if the Court determines defendant has

violated any provision of this agreement or authorizes defendant to withdraw from his

knorving and volunlary guilty plea entered pursuarlt to lhis agreenrent: (a) all rvritten or

oral statements nrade by defendant to the Court or to lederal or other designated lau,

cnfbrcenrent agents, any lcstinrony givcn by defendant before a grandjury or other tribunal,

u,hether belore or after the signing ofthis agreement, and any leads from those statemcnts

or testimony, shall bc attnissiblc in evidcncc in any criminal procccding brought against


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del-endant: and (h) defendant shall asscn no claim under the United Statcs Constitution.

any slatule, Fcdcral Rule of Criminal l'rocr:durc I      l(f,   Federal Rule ol'Evidence 410. or

any other fedeml rule or law that those statcnrents or any leads frorn those statements

should be suppressed. Defendant knowingly and voluntarily waives the rights described

in this paragraph as olthe lirne he signs this agrcenrenl.

                           l'he Oblieations of the United States

               14.    Ifdefendant enters   a plea   ofguilty    as described above and   fully rreets

all obligations under this agreenrent. the Unitcd Statcs rvill move lo disrniss al sentencing

Counts l. 2.3. 4. 5,6. tt. l0-21. and 23 of the Indiclment filed on March 20. 2018. in Case

No. CR-l8-066-SLP as to the defendarrt. and hc will not be lurther prosecuted by the

United States Attorney's Office for lhe Western District of Oklahonra for any criures

related to his participation in rnanufacturing and distribution ofanabolic steroids or ntoney

laundering during the period from on or about February 11,2014, through on or about

November 29, 2017. This agreement does not provide anv protection against prosecution

for any crime not specifically described above.

               15. lt is understood thal thc senlence to be inlposed upon defendanr is
u,ithin the sole discretion of the Court. The United States does not make any promise or

rcprcsentation as lo rvhat scnlence defendant rvill rcccive. Thc United Stalcs rEser\,es the

right to inform the Probation Office and the Courl ofthe nature and extent of defendant's

activities rvilh rcspect to this case and all othcr activities of deflendant, s,hich the United

Slalcs deenrs relevant lo sentencing.




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                                        Signatures

              16. By signing this a,ereement.         riefcndant acknowledges thal hc has

discussed ils tcrnrs rvith his attorney and undcrstands and accepls those lerrtrs. Further.

defendant acknowledges that this docunrent, in conjunction with the Plea Supplement filed

contemporaneously under seal, conlains lhe only terms of the agreemenl concerning his

plea of guilty in this case, and that there are no other deals. bargains. agreements, or

understandings rvhich nrodify or alter lhese temrs.




              Datetithis   &^rr, A&{L                        20llr


                                                  ROBERT J TROESTER
,APPRO\'I]I):                                     First Assist United St ta Atlomcv




\/IRC  A L. HINES                                 MIKI,:      ON
Dcput Ch icf. ('rinrinal Division                 Assist t U.S. Attorney
                                                  Weslem District of Oklahoma
                                                  210 l'ark Avenue, Ste. 400
                                                  Oklahoma City, Oklahoma 73 102
                                                  (105   )           7         tcc )
                                                         )   5-s3        S   ax)




C'H           I:R TI lO\4AS C.,\l)l-lNCil:        R            GRAY
                                                               T     .
De      ant                                           COI'T ADAMS
                                                  Attomeys for Defendant




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